Case 2:22-cv-00319-TOR   ECF No. 89-8    filed 09/23/24   PageID.1330   Page 1
                                    of 6




                           Exhibit G




                                                                Exhibit G Page 1
              Case 2:22-cv-00319-TOR
8/17/24, 7:47 AM                  Nearly 90%ECF
                                            of WSUNo.  89-8are vaccinated
                                                   employees    filed 09/23/24            PageID.1331
                                                                          | WSU Insider | Washington             Page 2
                                                                                                     State University
                                                                        of 6


             October 8, 2021


           Nearly 90% of WSU employees are
           vaccinated
             By Communications staff, Washington State University




            All WSU employees must be fully vaccinated or have obtained a medical or religious exemption by Oct. 18.



           PULLMAN, Wash. – Nearly 90% of Washington State University employees are
           vaccinated against COVID-19 and student levels are even higher, with infection rates
           involving the Pullman campus, in particular, declining dramatically compared to a year
           ago.

           “Our vaccination rates are high, and we know it’s the path that gets us through this
           pandemic,” said WSU President Kirk Schulz. “With a critical state deadline approaching
           for our employees, we’ve sought to work through pockets of hesitancy and uncertainty
           with compassion and understanding but with a rm commitment to making sure we’re
                                                                                 fi
           doing everything possible to deliver a robust in-person educational experience.”

           Under Gov. Jay Inslee’s vaccine mandate, all state employees must be fully vaccinated
           by Oct. 18 or have an approved exemption for documented medical reasons or sincerely
           held religious beliefs. Those who don’t meet the requirements will be prohibited from
           engaging in work for the State of Washington, including public universities.
                                                                                                                   Exhibit G Page 2
https://news.wsu.edu/press-release/2021/10/08/nearly-90-of-wsu-employees-are-vaccinated/                                              1/5
              Case 2:22-cv-00319-TOR
8/17/24, 7:47 AM                  Nearly 90%ECF
                                            of WSUNo.  89-8are vaccinated
                                                   employees    filed 09/23/24            PageID.1332
                                                                          | WSU Insider | Washington             Page 3
                                                                                                     State University
                                                       of 6than a week away, preliminary compliance
           Although the nal state deadline is still more




                               fi
             gures are available because WSU employees were required to verify their vaccine
           fi
           status by Oct. 4 to be considered fully vaccinated by Oct. 18. Those who sought
           exemptions were to submit their completed requests by Oct. 4 to provide the university
           time to evaluate the requests ahead of the state deadline.

           Students faced a Sept. 10 deadline for verifying their vaccination status or applying for a
           medical or religious exemption. Those who fail to comply will be prohibited from
           enrolling for the upcoming spring semester.


           Vaccination rates
           Of the approximately 10,000 full- and part-time WSU employees systemwide, 88% were
           fully or partially vaccinated as of Oct. 5. Veri cation efforts are continuing.


                                                                         fi
           For students who have submitted documentation, reported vaccination rates at each of
           WSU’s ve physical campuses are more than 95%. The Pullman and Spokane campuses
                     fi
           top the list at 98% each. Most students have either reported their vaccination status or
           requested an exemption, though percentages vary by campus and are still growing as
           compliance efforts continue.

           Detailed gures for each campus can be found online.
                          fi
           Steep decline in COVID-19 cases involving WSU
           Pullman
           For the Pullman campus, the number of COVID-19 cases involving the WSU community
           have declined dramatically compared to last fall.

           Last year, according to Whitman County Public Health, there were 526 con rmed
                                                                                                      fi
           COVID-19 cases involving members of the WSU Pullman community from Aug. 30 to
           Sept. 12. During the same period this year, that number dropped to 121 cases.

           For the week ending Oct. 6, WSU Pullman had just eight active cases among students,
           faculty and staff.


           Medical and religious exemptions
           More than 1,250 requests for medical and religious exemptions have been made by
           WSU students, faculty and staff. So far, nearly 800 have been approved and the review
           process is continuing. Final numbers will be available after Oct. 18.



                                                                                                    Exhibit G Page 3
https://news.wsu.edu/press-release/2021/10/08/nearly-90-of-wsu-employees-are-vaccinated/                                  2/5
              Case 2:22-cv-00319-TOR
8/17/24, 7:47 AM                  Nearly 90%ECF
                                            of WSUNo.  89-8are vaccinated
                                                   employees    filed 09/23/24            PageID.1333
                                                                          | WSU Insider | Washington             Page 4
                                                                                                     State University
                                                       of 6
           The requests for religious exemptions are evaluated  in a “blind” review process, meaning
           the identities of the individuals requesting exemptions are unknown to the members of
           the review committee except in instances when additional information is needed
           through follow-up contact. Separate review committees were created for students and
           employees.

           A panel of faculty and staff from all WSU campuses with expertise in religions, diverse
           backgrounds, and legal accommodations makes up the committee reviewing student
           requests.

           Employee religious requests are reviewed by a committee consisting of a team from
           WSU’s Human Resource Services as well as the university’s Of ce of Civil Rights and




                                                                                           fi
           Compliance. Employee medical exemption requests are considered by the university’s
           Disability Services team, which normally handles medical-related leave and
           accommodation requests.

           The Washington Attorney General’s Of ce is being consulted on criteria WSU is using to
                                                                      fi
           decide the exemption requests and providing legal advice to both committees as
           needed.

           Those who requested exemptions were asked to provide supporting information.

           For employees, the exemption requests go through a two-step process. The rst is the




                                                                                                        fi
           blind review. Then, if an exemption is approved, the request moves to a separate
           accommodation review step where a determination is made whether the unvaccinated
           employee will be able to perform their duties without risking the health and safety of
           the community.

           An appeals process is in place for students. Employees are provided the opportunity to
           supply additional information before nal decisions are made.
                                                                 fi
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                  509-595-1708, phil.weiler@wsu.edu
           Categories: Campus & Community, Health & Medicine, Press Releases, University Affairs




                  NEXT Story

                                                                                                    Exhibit G Page 4
https://news.wsu.edu/press-release/2021/10/08/nearly-90-of-wsu-employees-are-vaccinated/                                  3/5
              Case 2:22-cv-00319-TOR
8/17/24, 7:47 AM                  Nearly 90%ECF
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                                                   employees    filed 09/23/24            PageID.1334
                                                                          | WSU Insider | Washington             Page 5
                                                                                                     State University
                                                               of 6
                                                      WSU employees     again urged to check
                                                      direct deposit information
                                                       August 16, 2024

                                                      More victims discovered and students, faculty and staff are now
                                                      strongly advised to begin switching to the Okta Verify mobile
                                                      application as their primary MFA tool.

                                                       By Communications staff, Washington State University




               Recent News




                 A      t 15 2024                                                                             Exhibit G Page 5
https://news.wsu.edu/press-release/2021/10/08/nearly-90-of-wsu-employees-are-vaccinated/                                          4/5
              Case 2:22-cv-00319-TOR
8/17/24, 7:47 AM                  Nearly 90%ECF
                                            of WSUNo.  89-8are vaccinated
                                                   employees    filed 09/23/24            PageID.1335
                                                                          | WSU Insider | Washington             Page 6
                                                                                                     State University
                 August 15, 2024                                        of 6
               Robot planning tool accounts for human
               carelessness
               A new algorithm may make robots safer by making them more aware of
               human inattentiveness.

                 By Tina Hilding, Voiland College of Engineering and Architecture




                 August 15, 2024

               Endangered frogs set to hop into the wild
               Nearly 400 mature frogs will soon be released into the wild of the
               Columbia National Wildlife Refuge thanks to a team of WSU scientists and
               their collaborators.

                 By College of Arts and Sciences staff, Washington State University




                 August 14, 2024

               Fear of appearing prejudiced can inhibit
               accurate performance feedback to
               women
               Evaluators who want to avoid appearing prejudiced may overcorrect and
               give women in ated performance feedback, new research indicates — a
                                fl
               practice that could ultimately hinder their ability to improve and advance.

                 By Communications staff, Washington State University




                 August 14, 2024

               Saipan students join WSU to promote




                                                                                                    Exhibit G Page 6
https://news.wsu.edu/press-release/2021/10/08/nearly-90-of-wsu-employees-are-vaccinated/                                  5/5
